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 4   Telephone: (702) 614-0600
     Attorney for Robert E. Atkinson, Trustee
 5
                          UNITED STATES BANKRUPTCY COURT
 6
                             FOR THE DISTRICT OF NEVADA
 7
                                                       Case No. 21-14486-abl
 8   In re:                                            Chapter 7
 9
     INFINITY CAPITAL MANAGEMENT, INC.
10   dba INFINITY HEALTH CONNECTIONS,                  NOTICE OF ENTRY OF ORDER

11                       Debtor.
12

13
              PLEASE TAKE NOTICE that an order, which is attached hereto, was entered in the
14
     above-captioned matter.
15

16
     DATED: August 16, 2022                          /s/ Robert E. Atkinson _______
17
                                               ROBERT E. ATKINSON
18                                             Chapter 7 Bankruptcy Trustee

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  2

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  4
      Entered on Docket
___________________________________________________________________
  5 August 16, 2022

  6

  7

  8
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 13                                UNITED STATES BANKRUPTCY COURT
                                       DISTRICT OF NEVADA
 14

 15
            In re:                                              Case No. 21-14486-abl
                                                                Chapter 7
 16         INFINITY CAPITAL MANAGEMENT, INC.
            dba INFINITY HEALTH CONNECTIONS,                    ORDER SUSTAINING TRUSTEE’S
 17                                                             OBJECTION TO CLAIM NO. 6
 18
                               Debtor.
                                                                Hearing Date: August 11, 2022
 19                                                             Hearing Time: 11:00 a.m.
 20

 21              The Court reviewed and considered the Trustee’s OBJECTION TO CLAIM NO. 6
 22      [DE #230] (the “Objection”). The claimant of the claim is IMTISAL KHURI. No opposition
 23      to the Objection had been filed. Good cause appearing,
 24      IT IS HEREBY ORDERED:
 25             1.   The Objection is sustained.
 26             2.   Proof of claim no. 6 is hereby reclassified to be a general unsecured claim in the
 27      amount of $280,000.00.
 28      IT IS SO ORDERED.



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 1
                                                # # # # #
 2
     Submitted by:
 3
           /s/ Clarisse L. Crisostomo
 4   CLARISSE L. CRISOSTOMO, ESQ.
     Nevada Bar No. 15526
 5
     Attorney for Robert E. Atkinson, Trustee
 6

 7                                 CERTIFICATION re: RULE 9021
 8
     In accordance with LR 9021, counsel submitting this document certifies that the order accurately
 9   reflects the court’s ruling and that (check one):
10          The court has waived the requirements set forth in LR 9021(b)(1).
11
            No party appeared at the hearing or filed an objection to the motion.
12
            I have delivered a copy of this proposed order to all counsel who appeared at the
13          hearing, and any unrepresented parties who appeared at the hearing, and each has
14
            approved or disapproved the order, or failed to respond, as indicated below:

15          I certify that this is a case under Chapter 7 or 13, that I have served a copy of this
            order with the motion pursuant to LR 9014(g), and that no party has objected to the
16          form or content of the order.
17
                                                 ###
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